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                       Exhibit 2
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Charted Claims
Non-Method Claim: 1
   US8788360                           Samsung’s Galaxy A42 5G (“The Accused Product”)
1. A system for    The accused product utilizes a system (e.g., NFC System: NFC feature to read product
processing a       information) for processing a wireless request (e.g., request to make payments, buy
wireless request   tickets by downloading the appropriate app based on information from NFC tags) over a
over a network     network based on a human-perceptible advertisement for advertising to consumers a
based on a         product or service (e.g.,     information about products) offered by a vendor, the
human-             advertisement (e.g., information about products) attached with at least one radio
perceptible        frequency identification (RFID) tag (e.g., near field communication (NFC) tags), the at
advertisement      least one RFID tag (e.g., near field communication (NFC) tags) being configured to
for advertising    transmit a wireless identification transmission signal (e.g., tag responds with the
to consumers a     requested information) representing information pertaining to the product or service
product or         (e.g., information about products) offered by a vendor comprising:
service offered
by a vendor, the   As shown below, Samsung’s Galaxy A42 5G is equipped with an NFC feature that allows
advertisement      user to read (i.e., processing a wireless request) near field communication (NFC) tags
attached with at   that contain information about products (e.g., advertising to consumers a product or
least one radio    service) over a network (e.g., RFID communication used by Near Field Communication
frequency          (NFC) technology). User can use this feature to make payments and buy tickets for
identification     transportation or events (e.g., a product or service offered by a vendor) after
(RFID) tag, the    downloading the required apps.
at least one
RFID tag being
configured to
transmit a
wireless
identification
transmission
signal
representing
information
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pertaining to the
product or
service offered
by a vendor
comprising:




                    https://www.samsung.com/us/smartphones/galaxy-a42-5g/
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      https://www.samsung.com/us/smartphones/galaxy-a42-5g/




      https://m.media-amazon.com/images/I/C1VanMNOaZS.pdf
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      https://www.samsung.com/hk_en/nfc-support/
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      https://semiconductor.samsung.com/news-events/tech-blog/wireless-technology-to-
      transform-the-world-part3-nfc-technology-frees-your-hands/




      https://semiconductor.samsung.com/news-events/tech-blog/wireless-technology-to-
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      transform-the-world-part3-nfc-technology-frees-your-hands/




      http://nearfieldcommunication.org/technology.html
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      http://nearfieldcommunication.org/technology.html
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                  https://www.iso.org/standard/59643.html

mobile ordering   The accused product is a mobile ordering device (e.g., Samsung’s Galaxy A42 5G) of a
device of a       human consumer who perceives the human-perceptible advertisement (e.g.,
human             information about products), the mobile ordering device (e.g., Samsung’s Galaxy A42
consumer who      5G) comprising a radio frequency identification reader (e.g., NFC antenna area)
perceives the     configured to transmit a signal (e.g., transmitting a continuous-wave (CW) RF signal to
human-            request for reading product information from NFC tags) to the at least one RFID tag
perceptible       (e.g., near field communication (NFC) tags) attached with the advertisement (e.g.,
advertisement,    information about products) and to receive in response (e.g., responds) from the at
the mobile        least one RFID tag (e.g., near field communication (NFC) tags)) the wireless
ordering device   identification transmission signal (e.g., receive product information from the tag)
comprising a      corresponding to the advertisement and representing information pertaining to the
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radio frequency     product or service (e.g., information about products) offered by the vendor, the mobile
identification      ordering device (e.g., Samsung’s Galaxy A42 5G) further configured to accept input
reader              (e.g., user input for processing information from NFC tags like make payments, buy
configured to       tickets by downloading the appropriate app) from a consumer, generate an electronic
transmit a signal   request (e.g., request to make payments, buy tickets by downloading the appropriate
to the at least     app) with the received information from the wireless identification transmission signal
one RFID tag        (e.g., product information from the tag) and communicate the request (e.g., request to
attached with       make payments, buy tickets by downloading the appropriate app) to and receive a
the                 response (e.g., acknowledgement for payments or bought tickets) from a commerce
advertisement       data system (e.g., appropriate apps associated with NFC tags) across a network.
and to receive in
response from       As shown below, Samsung’s Galaxy A42 5G is equipped with an NFC feature that allows
the at least one    user to read (i.e., processing a wireless request) near field communication (NFC) tags
RFID tag the        that contain information about products (e.g., advertising to consumers a product or
wireless            service) over a network (e.g., RFID communication used by Near Field Communication
identification      (NFC) technology). NFC Interrogator/reader or radio frequency identification reader
transmission        (e.g., NFC antenna area) can provide a request for reading product information from
signal              NFC tags by placing the NFC antenna area on the back of your device near an NFC tag.
corresponding to    The NFC tags respond to the request by providing the product information to the mobile
the                 ordering device (e.g., Samsung’s Galaxy A42 5G). Further, the user can utilize the
advertisement       product information from the tag (the wireless identification transmission signal) to
and                 make payments, buy tickets by downloading the appropriate app. The appropriate app
representing        responds to the user request by providing the user with an acknowledgement for
information         payments or bought tickets.
pertaining to the
product or
service offered
by the vendor,
the mobile
ordering device
further
configured to
accept input
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from a
consumer,
generate an
electronic
request with the
received
information from
the wireless
identification
transmission
signal and
communicate
the request to
and receive a
response from a
commerce data
system across a https://www.samsung.com/us/smartphones/galaxy-a42-5g/
network;




                 https://m.media-amazon.com/images/I/C1VanMNOaZS.pdf
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       https://www.samsung.com/hk_en/nfc-support/




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       http://nearfieldcommunication.org/technology.html
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       http://nearfieldcommunication.org/technology.html
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       https://www.iso.org/standard/59643.html
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       https://www.samsung.com/hk_en/nfc-support/
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       https://semiconductor.samsung.com/news-events/tech-blog/wireless-technology-to-
       transform-the-world-part3-nfc-technology-frees-your-hands/




       https://semiconductor.samsung.com/news-events/tech-blog/wireless-technology-to-
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                   transform-the-world-part3-nfc-technology-frees-your-hands/

the mobile         The accused product discloses the mobile ordering device (e.g., Samsung’s Galaxy A42
ordering device    5G) in communication with the commerce data system (e.g., appropriate apps
in                 associated with NFC tags), the commerce data system (e.g., appropriate apps
communication      associated with NFC tags) for receiving and processing the request (e.g., request to
with the           make payments, buy tickets by downloading the appropriate app) of the mobile
commerce data      ordering device (e.g., Samsung’s Galaxy A42 5G) across the network, and responding to
system, the        the request (e.g., request to make payments, buy tickets by downloading the
commerce data      appropriate app) by sending information (e.g., acknowledgement for payments or
system for         bought tickets) to the mobile ordering device (e.g., Samsung’s Galaxy A42 5G) via the
receiving and      network, the information (e.g., acknowledgement for payments or bought tickets)
processing the     associated with the wireless identification transmission signal (e.g., product information
request of the     from the tag).
mobile ordering
device across      As shown below, Samsung’s Galaxy A42 5G is equipped with an NFC feature that allows
the network,       user to read (i.e., processing a wireless request) near field communication (NFC) tags
and responding     that contain information about products (e.g., advertising to consumers a product or
to the request     service). The user can utilize the product information from the tag (the wireless
by sending         identification transmission signal) to make payments, buy tickets by downloading the
information to     appropriate app. The appropriate app responds to the user request by providing the
the mobile         user with an acknowledgement for payments or bought tickets.
ordering device
via the network,
the information
associated with
the wireless
identification
transmission
signal.
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       https://www.samsung.com/hk_en/nfc-support/




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       https://www.samsung.com/hk_en/nfc-support/
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       https://semiconductor.samsung.com/news-events/tech-blog/wireless-technology-to-
       transform-the-world-part3-nfc-technology-frees-your-hands/




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